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12   Signify North America Corporation
     and Signify Holding B.V.
13

14

15                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
16
     SIGNIFY NORTH AMERICA CORPORATION and           Case 2:22-cv-02095-JAD-DJA
17   SIGNIFY HOLDING B.V.
                                                     NOTICE OF ORDERS
18                Plaintiffs,                        DENYING PRO HAC VICE
                                                     APPLICATION OF
19         v.                                        NICHOLAS A. BROWN IN
                                                     OTHER MATTERS (ECF 55)
20   LEPRO INNOVATION INC,
     LE INNOVATION INC,
21   INNOVATION RULES INC.,
     HOME EVER INC., and
22   LETIANLIGHTING, INC.,

23                Defendants.

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                   NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
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 1                Plaintiffs Signify North America Corporation and Signify Holding B.V. (collectively,

 2   “Signify”) hereby provide the Court with Notice of the Orders Denying the Pro Hac Vice

 3   Applications of Nicholas A. Brown (attached hereto as Exhibits A and B) referenced in Mr.

 4   Brown’s Verified Petition for Permission to Practice in this Case (“Petition”) (ECF 55). This

 5   Notice is made to provide the Court with information relevant to the Petition that Plaintiffs believe

 6   was incomplete or omitted from the Petition to aid the Court in assessing the Petition.

 7                In his Petition, Mr. Brown acknowledges that his admission pro hac vice was denied or

 8   withdrawn by the U.S. Patent Trial and Appeal Board (“PTAB”) in 10 Patent IPR proceedings,

 9   because he did not disclose the public reproval he received from the State Bar of California in
10   connection with a 2004 California misdemeanor conviction.1 In summarizing the Board’s orders,

11   denying and withdrawing admission, Mr. Brown states only that the “Board found [his]

12   interpretation of the Board’s rules as not requiring the disclosure of that [California Bar] reproval

13   was unreasonable”.2

14                A true and correct copy of the referenced Order denying Mr. Brown’s pro hac vice

15   admission is attached to this Notice as Exhibit A.3 This Order gives a more complete explanation

16   than that set forth in the Petition. Pursuant to the Order, the Board denied and withdrew Mr.

17   Brown’s pro hac vice not merely because it found his interpretation of the Board’s requirement to

18   disclose his prior sanction unreasonable, but “[b]ecause Mr. Brown chose to make a false

19   statement in his Declaration in Support of Petitioner’s Motion for Pro Hac Vice Admission that

20   ‘[n]o sanction or contempt citation had been imposed against me by any court or administrative

21   body’.”4

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24   1
         ECF 55, at 10.
25   2
         Id.
26   3
      Order for Denying Petitioner’s Motion for Pro Hac Vice Admission of Nicholas A. Brown, Satco Prods., Inc., v.
     Seoul Semiconductor Co., Ltd., IPR 2020-00836 (PTAB, Feb. 16, 2021), attached hereto as Exhibit A.
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     4
         Id., at 5.
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 1                Mr. Brown subsequently filed a Request for Rehearing of the Board’s Order Denying his

 2   pro hac vice application. A true and correct copy of Order Denying the Request for Rehearing is

 3   attached hereto as Exhibit B.5 The Board denied that Request as well.6

 4   Dated: August 23, 2023

 5                                                          Respectfully submitted,

 6                                                          /s/ F. Christopher Austin

 7                                                          F. Christopher Austin (SBN 6559)
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                                                            COUNSEL FOR PLAINTIFFS
18                                                          Signify North America Corporation and
                                                            Signify Holding B.V.
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      Order Denying Petitioner’s Request for Rehearing, Satco Prods., Inc., v. Seoul Semiconductor Co., Ltd., IPR
     2020-00836 (PTAB, Sep. 23, 2021), attached hereto as Exhibit B.
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     6
         Id., at 5.
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                         NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
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 1                                   CERTIFICATE OF SERVICE

 2          Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that on August 23, 2023, a true and correct
 3   copy of the foregoing was filed electronically via the Court’s CM/ECF system. Notice of filing
 4   will be served on all parties by operation of the Court’s EM/ECF system, and parties may access
 5   this filing through the Court’s CM/ECF system.
 6

 7                                         /s/ F. Christopher Austin
                                           An employee of Weide & Miller, Ltd.
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                    NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
